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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

In Re: Oil Spill by the Oil Rig “Deepwater           §               MDL NO. 2179
       Horizon” in the Gulf of Mexico, on            §
       April 20, 2010                                §               SECTION: J
                                                     §
This Document Relates to:                            §               JUDGE BARBIER
                                                     §
In Re: The Complaint and Petition of                 §               MAG. JUDGE SHUSHAN
       Triton Asset Leasing GmbH, et al.             §
       Civil Action No. 10-2771                      §

  MEMORANDUM IN SUPPORT OF MOTION FOR ORDER ON CLAIMANTS’, 30
 DEGREE BLUE, LLC, ET AL., OBJECTIONS TO JURISDICTION AND VENUE AND
     TO ENFORCEMENT OF MONITION, AND RESERVATION OF RIGHTS

       COME NOW Claimants, 30 Degree Blue, LLC, et al., by and through undersigned

counsel, and submit their Memorandum in Support of Motion for Order on Claimants’, 30

Degree Blue, LLC, et al., Objections to Jurisdiction and Venue and to Enforcement of Monition,

and Reservation of Rights, as follows:

       Basis of the Motion: Claims brought pursuant to OPA 90, and/or under the statutory or

common law of any State imposing liability, obligations or requirements on any person for the

discharge of oil or other pollution by oil within such State are not subject to the Shipowner’s

Limitation of Liability Act of 1851 (“the Limitation Act”), 46 U.S.C. app. §§ 181-96 (presently

codified as 46 U.S.C. §§30501-30512) and the concursus of claims under Rule F of the

Supplemental Rules for Admiralty or Maritime Claims and Asset Forfeiture Actions (“Rule F”).

See Bouchard Transportation Company, Inc., v. Updegraff, 147 F.3d 1344 (11th Cir. 1998). See

also MetLife Capital Corp. M/V EMILY S., 132 F.3d 818 (1st Cir. 1997).

I.     OPA 90 Claims Are Not Subject to Limitation in Admiralty.

       In Bouchard, the court reasoned that OPA 90 Claims are not subject to the Limitation Act
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or Rule F because (1) such claims do not face a limited fund, and (2) there is no need to bring all

of the claimants into a single proceeding to make a pro rata distribution because every claim will

be paid in full,	  and	  (3) unlike the Limitation Act, Congress has specifically set forth procedures

to implement the strictures of OPA 90, and (4) unlike the Limitations Act, OPA 90 can

accomplish its statutory goal without the assistance of Rule F, and (5) there are irreconcilable

conflicts between OPA 90 and the Limitation Act as implemented by Rule F that would render

the procedural, jurisdictional and venue provisions of OPA 90 meaningless. The Bouchard court

expressed its reasoning as follows:

          OPA 90 claimants do not face a limited fund because OPA 90 uses the Oil Spill Liability
          Trust Fund (Fund) to ensure that every claim made pursuant to OPA 90 will be paid in
          full. 26 U.S.C. § 9509; 33 U.S.C. § 2712, 2713. Although OPA 90 limits the liability of
          the Owners for certain costs and damages arising from the oil spill in this case to $1,200
          per gross ton, the Fund backstops the Owners' limited liability and ensures that every
          valid claim will be paid in full.[fn8] Accordingly, while OPA 90 is a limitation statute in
          some sense (i.e., it limits the ship owner's liability), it is not a limitation statute in the
          relevant sense — it does not limit the total amount of money that can be recovered by the
          claimants in this case. There is no need to bring all of the claimants into a single
          proceeding to make a pro rata distribution because every claim will be paid in full.

Brouchard at 1350; and

          	  …OPA 90 is not subject to Rule F because, whereas the Limitation Act was enacted
          without procedural mechanisms, Congress expressly set forth procedures for
          implementing OPA 90 (citing MetLife Capital Corporation v. M/V EMILY S., 132 F.3d
          818, 824 (1st Cir. 1997).

Id; and
                   This conclusion is supported by principles of statutory construction. Comparing
          the OPA 90 statutory procedures with the Rule F procedures reveals two largely
          conflicting frameworks for resolving OPA 90 claims. For example, OPA 90 gives
          claimants three years to bring claims against a responsible party. 33 U.S.C. § 2717(f).
          OPA 90 also requires that claimants first present their claims to the responsible party, and
          then, if a claim is not settled within the requisite period of time, the claimant may proceed
          in court. 33 U.S.C. § 2713(a), (c). In some instances, claimants may proceed directly to
          the OPA Fund and then subrogate to the United States the claims against the responsible
          party. 33 U.S.C. § 2715. If OPA 90 claims were subject to Rule F, every claim
          (including claims subrogated to the United States) would have to be brought within the
          period announced by the district court in the notice sent to potential claimants, which was



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         60 days in this case. Subjecting OPA 90 claims to Rule F effectively would allow ship
         owners to opt out of the Congressionally mandated procedures for resolving OPA 90
         claims. Additionally, the venue provisions of OPA 90 permit claimants to proceed "in
         any district in which the discharge or injury or damages occurred, or in which the
         defendant resides, may be found, has its principal office, or has appointed an agent for
         service of process." 33 U.S.C. § 2717(b). The injunction issued by the district court in a
         Rule F proceeding would require OPA 90 claimants to proceed only in the district court
         chosen by the vessel owners, and the process envisioned by OPA 90's jurisdiction and
         venue provisions would be rendered meaningless. Similarly, OPA 90 grants jurisdiction
         to state courts to hear claims arising thereunder. 33 U.S.C. § 2717(c). This grant of
         concurrent jurisdiction would be rendered meaningless if OPA 90 claims were subject to
         Rule F because Rule F complaints must be filed in federal court. MetLife, 132 F. 3d at
         822.

Id. at 1350, 51; and
	  
         In resolving the conflict between the Rule F procedures and the OPA 90 procedures, a
         fundamental principle of statutory construction requires that we apply the more specific
         procedures. San Pedro v. United States, 79 F.3d 1065, 1069 (11th Cir.) ("We therefore
         follow the principle, upheld by the Supreme Court on numerous occasions, that a specific
         statute takes precedence over a more general one."), cert. denied, ___ U.S. ___, 117 S.
         Ct. 431 (1996). Furthermore, we avoid statutory constructions that render provisions
         meaningless. Woodfork v. Marine Cooks & Stewards Union, 642 F.2d 966, 970-71 (5th
         Cir. Apr. 1981).

Id. at 1351; and

         Consistent with these principles of statutory construction, OPA 90 claims must be
         resolved pursuant to the procedures contained in that statute, rather than replacing those
         procedures with Rule F.

Id.

         While OPA 90 specifically provides (33 U.S.C. § 2718 (c)) that it supersedes the

Limitation Act, a host of cases have determined that application of the Limitation Act has been

superseded by other legislation that, although making no reference to the Limitation Act,

supersedes it because the Limitations Act is in irreconcilable conflict with, and frustrates the

remedial nature of, these other enactments. See The Glacier Bay, 944 F.2d 577 (9th Cir. 1991)

(implied repeal of Limitation Act by Trans-Alaska Pipeline Authorization Act); Tug Allie-B, 273

F.3d 936 (11th Cir. 2001) (inapplicability of the Limitation Act to incidents covered under the



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Park System Resource Protection Act); United States v. E.F. Industries, Inc., 542 F.Supp. 952

(D. Minn. 1982) (Limitation Act superseded by the Clean Water Act); Southern Scrap v. ABC,

541 F.3d 584 (5th Cir. 2008) (Limitation Act inapplicable to proceedings brought under the

Wreck Act).

         II.    Claims under State statutory and common law imposing liability for the discharge

of oil or other pollution by oil within such State are expressly exempted by OPA from the

Limitation Act. See 33 U.S.C. § 2718 (a) and (c), and Brouchard at 1352. The State law under

consideration in Brouchard was the Florida Pollution Discharge Prevention and Control Act, Fla.

Stat. ch. 376.011-.17, 376.19-.21 (“the Florida Act”). In Brouchard, the 11th Circuit observed

that:

         OPA 90 authorizes states to adopt liability laws for oil spills and exempts those laws
         from the provisions of the Liability Act. 33 U.S.C. § 2718. Accordingly, the Florida Act
         is neither subject to the Limitation Act's provisions nor otherwise preempted. We will
         not impose Rule F on the Florida Act because, like OPA 90 claimants, Florida Act
         claimants do not face a limited fund. The Florida Act establishes the Florida Coastal
         Protection Trust Fund (Florida Fund) to ensure that all claims are paid in full despite the
         limitation of liability enjoyed by responsible parties (citing Fla. Stats. ch. 376.11).

Id. at 1352.

         OPA 90 does not condition its exemption of State laws from the Liability Act on the

existence of a “back-up fund” to pay claims. The relevant portions of OPA 90 exempting State

law claims from limitation in Admiralty are found in 33 U.S.C. § 2718 and read as follows:

                 (a) Preservation of State authorities; Solid Waste Disposal Act – Nothing in this
         Act or the Act of March 3, 1851, shall –

                 (1) affect or be construed or interpreted as preempting, the authority of any State
         or political subdivision thereof from imposing any additional liability or requirements
         with respect to –

                (A) the discharge of oil or other pollution by oil within the State; or
         …




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                 (2) affect or be construed or interpreted to affect or modify in any way the
         obligations or the liabilities of any person under… State law, including common law
         (emphasis supplied).
         …

                  (c) Additional requirements and liabilities; penalties –
         Nothing in this Act, the Act of March 3, 1851, (46 U.S.C. 183 et seq.), or Section 9509 of
         title 26, shall in any way affect, or be construed to affect, the authority of the United
         States or any State or political subdivision thereof -

                 (1) to impose additional liability or additional requirements;
         …

         relating to the discharge, or substantial threat of a discharge, of oil.

The “REFERENCES IN TEXT” portion of the above statute identifies the “Act of March 3,

1851”, which is expressly superseded by State statutory and common law, as the Limitation Act:

         Act of March 3, 1851, referred to in subsecs. (a) and (c), is act Mar. 3, 1851, ch. 43, 9
         Stat. 635, which was incorporated into the Revised Statutes as R.S. §§4282, 4283, 4284
         to 4287 and 4289, and was classified to sections 182, 183, and 184 to 188 of Title 46,
         Appendix, Shipping, prior to being repealed and restated in chapter 305 of Title 46,
         Shipping, by Pub. L. 109–304, §§6(c), 19, Oct. 6, 2006, 120 Stat. 1509, 1710. For
         disposition of sections of the former Appendix to Title 46, see Disposition Table
         preceding section 101 of Title 46.

         An additional provision of OPA 90 demonstrating preemption of the Limitation Act by

State statutory and common law is contained in 33 U.S.C. sec. 2717, as follows:

              (c) State court jurisdiction – A State trial court of competent jurisdiction over
         claims for … damages, as defined under this Act, may consider claims under this Act or
         State law and any final judgment of such court (when no longer subject to ordinary
         forms of review) shall be recognized, valid, and enforceable for all purposes of this Act.

It is clear that claims arising under OPA 90 and State statutory and common law imposing

liability for oil pollution are expressly exempted from the Limitation Act and Rule F.

         As Judge Starke observed in his Memorandum Opinion dated March 15, 2011, in St. Joe

Company v. Transocean Offshore Deepwater Drilling, Inc., et al., case number 1:10-cv-968-




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LPS, (D. Del 2011), even prior to OPA 90, State laws regarding oil spill damages were not

preempted by Federal law. Judge Starke’s opinion states:

         In Askew v. American Waterways Operators, Inc., 411 U.S. 325, 328 (1973), a pre-OPA
         opinion, the Supreme Court held that a Florida statutory scheme regarding oil spill
         damages was not preempted by federal law. The Court explained:

                One can read the history of the Admiralty Extension Act without finding any clear
                indication that Congress intended that sea-to-shore injuries be exclusively triable
                in the federal courts….

                [S]ea-to-shore pollution - historically within the reach of the police power of the
                States - is not silently taken away from the States by the Admiralty Extension Act,
                which does not purport to supply the exclusive remedy….

                ….But we decline to…oust state law from any situation involving shoreside
                injuries by ships on navigable waters. The Admiralty Extension Act does not pre-
                empt state law in those situations.

         Id. at 341-44. Askew makes clear that, prior to OPA, state law was applicable to sea-to-
         shore pollution. OPA's saving clauses preserve this conclusion even following enactment
         of OPA.

St. Joe at 16-17.

         Claimants’ claims under OPA 90 and State statutory and common law for damages

resulting from the discharge of oil or other pollution by oil are not subject to the Limitation Act

or Rule F, and the court should enter an order exempting such claims from the procedures under

Rule F and the concursus in these proceedings.

                                                          Respectfully Submitted:


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        I hereby certify that the above and foregoing Memorandum in Support of Motion for
Order on Claimants’, 30 Degree Blue, LLC, et al., Objections to Jurisdiction and Venue and to
Enforcement of Monition, and Reservation of Rights has been served on all counsel by
electronically uploading the same to Lexis Nexis File & Serve in accordance with Pretrial Order
No. 12, and that the foregoing was electronically filed with the Clerk of Court of the United
States District Court for the Eastern District of Louisiana by using the CM/ECF System, which
will send a notice of electronic filing in accordance with the procedures established in MDL
2179, on this 22nd day of April, 2011.


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                                                                                                                                                                                                                     Samuel T. Adams




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